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                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION
REV. PAUL A. EKNES-TUCKER;
BRIANNA BOE, individually and on behalf
of her minor son, MICHAEL BOE; JAMES
ZOE, individually and on behalf of his minor
son, ZACHARY ZOE; MEGAN POE,
individually and on behalf of her minor      Civil Action No.
daughter, ALLISON POE; KATHY NOE,            2:22-cv-00184-LCB
individually and on behalf of her minor son,
CHRISTOPHER NOE; JANE MOE, Ph.D.;            Hon. Liles C. Burke
and RACHEL KOE, M.D.,

      Plaintiffs,
v.

KAY IVEY, in her official capacity as
Governor of the State of Alabama; STEVE
MARSHALL, in his official capacity as
Attorney General of the State of Alabama;
DARYL D. BAILEY, in his official capacity
as District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her official
capacity as District Attorney for Lee County;
TOM ANDERSON, in his official capacity as
District Attorney for the 12th Judicial Circuit;
and DANNY CARR, in his official capacity
as District Attorney for Jefferson County,

      Defendants.


PLAINTIFFS MEGAN POE’S AND RACHEL KOE, M.D.’S UNOPPOSED
  MOTION TO SEAL PORTIONS OF PRELIMINARY INJUNCTION
                        HEARING
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       Plaintiffs Megan Poe and Dr. Rachel Koe respectfully request that the Court

seal the preliminary injunction hearing while they testify or permit these Plaintiffs

to present their testimony in camera. The Court has granted these Plaintiffs’ requests

to proceed pseudonymously given the privacy and security interests they have raised,

(Doc. 83), and the limited relief Plaintiffs seek by this motion is necessary to

preserve their ability to protect these interests.

       Counsel for Plaintiffs has conferred with Defendants’ counsel, and

Defendants do not oppose this motion. A proposed order is attached hereto for the

convenience of the Court.

       As the Court recognized in its Order permitting certain Plaintiffs to proceed

pseudonymously, the Eleventh Circuit has recognized that the public’s right of

access to court proceedings is not absolute and can be limited upon a showing of an

adequate privacy interest. (Doc. 83 at 3-4.) In the context of a motion to seal, courts

in the Eleventh Circuit apply a good cause analysis that “requires balancing the

asserted right of access against the other party’s interest in keeping the information
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confidential.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1245–46 (11th Cir.



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  Alabama courts also have stated that “[a] federal court’s authority to seal or otherwise prevent
public access to documents or proceedings is derived from Rule 26(c) of the Federal Rules of Civil
Procedure.” See, e.g., Auburn Univ. v. Int’l Bus. Machs. Corp., No. 3:09-cv-694-MEF, 2010 WL
4053388, at *1 (M.D. Ala. Oct. 14, 2010). The “good cause” analysis under Rule 26(c) also
requires the court to “balance the public’s interest in access against the litigant’s interest in
confidentiality.” Id. at *3.


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2007) (internal quotation marks and alterations omitted) (quoting Chicago Tribune,

263 F.3d at 1309). In weighing these competing interests, courts consider the

following factors: (1) “whether allowing access would impair court functions or

harm legitimate privacy interests”; (2) “the degree of and likelihood of injury if made

public”; (3) “the reliability of the information”; (4) “whether there will be an

opportunity to respond to the information”; (5) “whether the information concerns

public officials or public concerns”; and (6) “the availability of a less onerous
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alternative to sealing.” Romero, 480 F.3d at 1246 (citations omitted). The decision

of whether good cause exists rests within the sound discretion of the district court

and is based on “the nature and character of the information in question.” Chicago

Tribune, 263 F.3d at 1315.

       The first two factors of the applicable balancing test—whether allowing

access would impair court functions or harm legitimate privacy interests and the

degree of and likelihood of injury if made public—weigh strongly in favor of sealing

the testimony of Ms. Poe and Dr. Koe or permitting them to testify in camera.

Romero, 480 F.3d at 1246; (see also Doc. 83.)



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  A similar test applies to sealing criminal proceedings, where the right of public access is most
robust: (1) the party seeking to close the hearing must advance an overriding interest that is likely
to be prejudiced; (2) the closure must be no broader than necessary to protect that interest; (3) the
trial court must consider reasonable alternatives to closing the proceeding; and (4) the trial court
must make findings adequate to support the closure. Waller v. Georgia, 467 U.S. 39, 48 (1984).



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      Sealing and preventing public access to the live testimony of Plaintiff Poe and

Dr. Koe is necessary to protect their privacy and security interests. As detailed in

Plaintiffs’ motion to proceed pseudonymously, “the social stigma attached to the

plaintiff’s disclosure [of transgender status] [has been] found to be enough to

overcome the presumption of openness in court proceedings,” Doe v. Frank, 951

F.2d 320, 324 (11th Cir. 1992), and the same “considerations also support allowing

the [Parent Plaintiffs] . . . to proceed anonymously, because public disclosure of their

identities would nullify any privacy protections given to their children alone.” D.L.

ex rel. Phan L. v. Bateman, No. 3:12-cv-208-J-32JBT, 2012 WL 1565419, at *2

(M.D. Fla. May 2, 2012) (citing Doe v. Banos, 713 F. Supp. 2d 404, 407 n.1 (D.N.J.

2010)). The State Defendants did not oppose Plaintiff Poe’s request to proceed

pseudonymously. With respect to Dr. Koe, in granting her request to proceed

pseudonymously, the Court found “Dr. Koe’s fears for her safety and that of her

family and staff to be well founded” and “to weigh heavily in favor of anonymity.”

(Doc. 83 at 5.) Requiring Plaintiffs Poe and Dr. Koe to testify in open court with

members of the public and media present would place these privacy and security

interests in jeopardy and undermine the Court’s order permitting them to proceed

pseudonymously. Accordingly, the first two good cause factors weigh heavily in

favor of granting the limited relief of sealing the portions of the preliminary




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injunction hearing when these Plaintiffs testify or permitting them to testify in

camera.

       The remaining four good cause factors—the reliability of the information in

question, whether there will be an opportunity to respond to the information, whether

the information concerns public officials or public concerns, and the availability of

a less onerous alternative to sealing—also weigh in favor of sealing the testimony of

Plaintiffs Poe and Dr. Koe.

      Closing the preliminary injunction hearing while Plaintiffs Poe and Dr. Koe

testify will not prevent the Defendants from cross-examining them or otherwise

responding to their testimony, and it will not inhibit the Court’s ability to assess the

reliability of their testimony. Moreover, while this litigation certainly implicates

public officials and public concerns, sealing only the portions of the hearing during

which Plaintiffs Poe and Dr. Koe testify will not unduly impede the public’s ability

to observe these proceedings. Plaintiffs do not seek to restrict public access to the

entirety of the preliminary injunction hearing, but only the testimony of Plaintiffs

Poe and Dr. Koe in support thereof. Sealing their testimony is narrowly tailored to

the protection of their privacy and security interests, and there is no less restrictive

alternative available to protect those interests.




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      For the foregoing reasons, Plaintiffs Megan Poe and Dr. Rachel Koe

respectfully request that the Court grant their unopposed motion to seal the

preliminary injunction hearing while they testify or permit them to testify in camera.

      Respectfully submitted this 4th day of May, 2022.

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                          CERTIFICATE OF SERVICE


      I certify that, on May 4, 2022, I electronically filed the foregoing Unopposed

Motion with the Clerk of Court using the CM/ECF filing system, which will provide

notice of such filing to all counsel of record.


                                        /s/ Melody H. Eagan
                                        Attorney for Plaintiffs
